          Case 8:21-cv-02515-TPB-SPF Document 5 Filed 10/27/21 Page 1 of 1 PageID 79
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                   REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                         FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                          ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                               TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                       Middle District of Florida                             on the following
           Trademarks or    6    Patents. (        the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                    DATE FILED                       U.S. DISTRICT COURT
  8:21-cv-2515-TPB-SPF                October 26, 2021                                    Middle District of Florida
PLAINTIFF                                                               DEFENDANT


 AZURITY PHARMACEUTICALS, INC.                                           CORERX, INC.


        PATENT OR                   DATE OF PATENT
                                                                                  HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                 OR TRADEMARK

                                                                              ***ATTACHED COMPLAINT AND EXHIBITS***

                           In the above—entitled case, the following decision has been rendered or judgment issued:
DECISION/JUDGMENT




CLERK                                                    (BY) DEPUTY CLERK                                         DATE

             ELIZABETH M. WARREN                                             Lourdes Del Rio                             October 27, 2021

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
